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U.S. BISTRICT CoURT
DISTRICT OF M
PORTLAN pine

UNITED STATES v. JEFFREY RICHARD “VEO & FILED

SYNOPSIS — INDICTMENT

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Name: Jeffrey Richard OLPUTY CLERK
Address: Rumford, Maine
(City & State Only)

 

Year of Birth and Age:

1975 (46 years old)

 

 

 

 

 

 

 

 

Violations: Count 1: Tax evasion.
26 U.S.C, § 7201.
Counts 2-9: Failure to pay over employment tax.
26 U.S.C. § 7202.

Penalties: Counts I-9: Class D felony. Not more than 5 years
imprisonment, and/or not more than a
$250,000 fine.
26 U.S.C. §§ 7201, 7202; 18 U.S.C.
§ 3571(b)3)

Supervised Release: Counts 1-9: Not more than 3 years.
18 U.S.C. § 3583(b)(2).

Maximum Term of Imprisonment for Counts 1-9: Not more than 2 years.

Violation of Supervised Release: 18 U.S.C. § 3583(e)(3).

Maximum Additional Term of Counts 1-9: Not more than 3 years less term of

Supervised Release for Violation of imprisonment imposed upon

Supervised Release: revocation.

18 U.S.C. § 3583(h).

Defendant’s Attorney: TBD oe

Primary Investigative Agency and Case | IRS-CI

Agent Name: Special Agent John Marini

 

Detention Status:

Summons to be requested.

 

Foreign National:

 

 

Foreign Consular Notification Provided:

 

 

No

 

N/A

 

 
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County: Oxford

AUSA: Craig M. Wolff
Guidelines apply? Y/N Yes

Victim Case: Yes

Corporate Victims Owed Restitution: N/A
Assessments: $100 per count.

 

18 U.S.C. § 3013(a)(2)(A).

 

 
